
655 S.E.2d 716 (2007)
STATE
v.
Jeremy Dushane MURRELL.
No. 484A06.
Supreme Court of North Carolina.
November 16, 2007.
Benjamin Dowling-Sendor, Assistant Appellate Defender, Paul Green, Durham, for Jeremy Dushane Murrell.
Robert Montgomery, Special Deputy Attorney General, Thomas J. Keith, District Attorney, for State of NC.
The following order has been entered on the motion filed on the 16th day of November 2007 by the State for Extension of Time to File Brief and to File Response to Defendant's Motion for Appropriate Relief:
"Motion Allowed. The State shall have up to and including the 10th day of January 2008 to file and serve his/her brief with this Court. By order of the Court in conference this the 16th day of November 2007."
